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                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
 In re:
                                                   Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P.,1
                                                   Case No. 19-34054-sgj11
                   Reorganized Debtor.

 MARC S. KIRSCHNER, AS LITIGATION
 TRUSTEE OF THE LITIGATION SUB-TRUST,

                   Plaintiff,

              v.

 JAMES D. DONDERO; MARK A. OKADA;
 SCOTT ELLINGTON; ISAAC LEVENTON;
 GRANT JAMES SCOTT III; STRAND
 ADVISORS, INC.; NEXPOINT ADVISORS,
 L.P.; HIGHLAND CAPITAL MANAGEMENT
 FUND ADVISORS, L.P.; DUGABOY
 INVESTMENT TRUST AND NANCY
 DONDERO, AS TRUSTEE OF DUGABOY
 INVESTMENT TRUST; GET GOOD TRUST
 AND GRANT JAMES SCOTT III, AS
 TRUSTEE OF GET GOOD TRUST; HUNTER
 MOUNTAIN INVESTMENT TRUST; MARK & Adv. Pro. No. 21-03076-sgj
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #1 AND LAWRENCE
 TONOMURA AS TRUSTEE OF MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #1; MARK & PAMELA
 OKADA FAMILY TRUST – EXEMPT TRUST
 #2 AND LAWRENCE TONOMURA IN HIS
 CAPACITY AS TRUSTEE OF MARK &
 PAMELA OKADA FAMILY TRUST –
 EXEMPT TRUST #2; CLO HOLDCO, LTD.;
 CHARITABLE DAF HOLDCO, LTD.;
 CHARITABLE DAF FUND, LP.; HIGHLAND
 DALLAS FOUNDATION; RAND PE FUND I,
 LP, SERIES 1; MASSAND CAPITAL, LLC;
 MASSAND CAPITAL, INC.; AND SAS ASSET
 RECOVERY, LTD.,

                   Defendants.




          1
         The last four digits of the Reorganized Debtor’s taxpayer identification number are
(8357). The Reorganized Debtor is a Delaware limited partnership. The Reorganized Debtor’s
headquarters and service address are 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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                               CLERK’S ENTRY OF DEFAULT
      The record reflects that service of the complaint has been made upon the Defendants
named below:
         Massand Capital, Inc.; and,
         Massand Capital, LLC


        It appears from the record that service of the complaint has been made, that the
Defendants have failed to answer or otherwise defend as directed within the time allowed, and
that the Plaintiff has shown that failure through affidavit or otherwise.
         Therefore, upon Plaintiff's request, DEFAULT is entered against the Defendants named
above.




         DATED this ______ day of August, 2022.


                                                    /s/
                                                    By: Deputy Clerk – Bankruptcy Court for
                                                    the Northern District of Texas
